 
          Case 2:12-md-02323-AB Document 9835 Filed 03/29/18 Page 1 of 2




                                                   March 29, 2018

Via ECF

Honorable Anita B. Brody
United States District Judge
Eastern District of Pennsylvania
601 Market Street
Room 7613
Philadelphia, PA 19106

       Re:     In re National Football League Players’ Concussion Injury Litigation,
               No. 12-md-2323-AB

Dear Judge Brody:

        I am writing in regards to the Motion of Class Counsel the Locks Law Firm for Appointment
of Administrative Counsel which was filed on March 20, 2018. ECF No. 9786. As your Honor may
have noticed, some firms have filed and, as of this afternoon, are still filing Joinders to that Motion.
ECF Nos. 9813, 9816, 9819, 9820, 9821, 9824, 9827, 9829, 9830, 9831, and 9834. We would be
better able to respond fully to the issues raised by the Motion and any Joinders if a deadline is set
for the filing of any additional Joinders and the record we are responding to is closed.

          Accordingly, I request that your Honor enter an order setting March 30, 2018 as the
deadline for the filing of any Joinders or other papers in support of the Motion. I also request that
we be permitted to file our response to the Motion and all related papers on April 10, 2018. To
ensure that this can be quickly resolved and avoid even further burgeoning of the pleadings, we
believe that there will not be need for further replies.

       I remain available at you Honor’s convenience.

                                                    Respectfully,

                                                    /s/ Christopher A. Seeger
                                                    Christopher A. Seeger
                                                    Co-Lead Class Counsel




                                                                                                       
 
             Case 2:12-md-02323-AB Document 9835 Filed 03/29/18 Page 2 of 2


                                   CERTIFICATE OF SERVICE
           It is hereby certified that a true and correct copy of the foregoing was served

    electronically via the Court’s electronic filing system on the date below upon all counsel of

    record in this matter.



    Dated: March 29, 2018




                                                    /s/ Christopher A. Seeger
                                                    Christopher A. Seeger




 
